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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                    4:09-CR-00278-06-BRW
                                       4:13-CV-00612-BRW

JOSE LUIS ESCOTA MOYA

                                              ORDER

       Pending is Petitioner’s Motion to Vacate, Set Aside, or Correct his sentence under

28 U.S.C. § 2255 (Doc. No. 350). The Prosecution has responded.1

I.     BACKGROUND

       A jury found Petitioner guilty of conspiring to possess with intent to distribute more than

500 grams of methamphetamine; possessing with intent to distribute less than 50 grams of

methamphetamine; and being an alien unlawfully in possession of 12 firearms.2 On January 6,

2012, Petitioner was sentenced to 200 months in prison, followed by 5 years supervised release.3

The Eighth Circuit affirmed Petitioner’s conviction on August 23, 2012.4 On October 25, 2013,

Petitioner filed the pending § 2255 habeas petition, alleging ineffective assistance of counsel.

II.    DISCUSSION -- Ineffective Assistance of Counsel

       Petitioner alleges that his counsel was ineffective because counsel failed to advise him

about a plea agreement offered by the Prosecution before trial. Specifically, Petitioner contends

that his lawyer failed to “act in his best interest by protecting his rights” and failed “to inform

       1
        Doc. No. 354.
       2
        Doc. No. 269.
       3
       Doc. No. 310. Petitioner received 200 months imprisonment each on Counts 1 and 7,
and 120 months on Count 8, all to run concurrently for a total of 200 months.
       4
        Doc. No. 335.

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him of an offer of a plea agreement, which was much more favorable than his ultimate

sentence.”5 Petitioner also asserts that he can “show a reasonable probability that he would have

accepted the more favorable plea offer . . . .”6

       To prevail on his ineffective assistance of counsel claim, Petitioner must show both

deficient performance and prejudice. So, Petitioner must demonstrate (1) that his counsel’s

performance “fell below an objective standard of reasonableness,” and (2) that it is reasonably

probable that, “but for counsel’s unprofessional errors, the result of the proceedings would have

been different.”7

       “As a general rule” a defendant’s lawyer has a “duty to communicate formal [plea] offers

from the prosecution,”8 and the failure to do so might fall below an objective standard of

reasonableness. However, Petitioner’s assertion that he was never made aware of the

Prosecution’s plea offer is unsupported by the record. At sentencing, Petitioner complained that

his lawyer failed to explain the benefit of “ple[ading] guilty or not” versus the risks of going to

trial.9 Petitioner’s statement suggests that he was aware that accepting a plea agreement was an

alternative to going to trial. Additionally, the Defendant’s lawyer’s affidavit indicates that he

talked to Defendant at least six times about taking the Prosecution’s plea offer.10


       5
        Doc. No. 350.
       6
        Id.
       7
       Wilson v. Armontrout, 962 F.2d 817, 819 (8th Cir. 1992) (citing Strickland v.
Washington, 466 U.S. 668, 687-88, 694 (1984)).
       8
        Missouri v. Freye, 132 S. Ct. 1399, 1408 (2012).
       9
        Doc. No. 327 (“THE DEFENDANT: The point that I had and the different -- if I would
have pled guilty or not and the risks if I would have gone to trial or not, because of the points that
I have. And for not knowing the options that I could have had.”).
       10
            Doc. No. 354-1.

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       Even assuming that Petitioner’s lawyer never notified him of the Prosecution’s plea offer,

Petitioner can show no prejudice. “To establish prejudice . . . [Petitioner] must show that, but for

his counsel’s advice, he would have accepted the plea. To command an evidentiary hearing, the

movant must present some credible, non-conclusory evidence that he would have pled guilty had

he been properly advised.”11

       Petitioner’s position is:

       There is no evidence that the Petitioner was refusing to plead guilty. Therefore, there
       is a reasonable probability that he would have accepted the offer if he had known
       about it and counsel would have provided the proper guidance concerning potential
       liability of going to trial and possible sentences.12

        “A defendant who maintains his innocence at all stages of his criminal prosecution and

shows no indication that he would be willing to admit his guilt undermines his later § 2255 claim

that he would have pled guilty if only he had received better advice from his lawyer.”13 Such is

the case here.

       The plea agreement required Petitioner to plead guilty to Count 1 of the indictment and

stipulate that he was responsible for conspiring to possess with intent to distribute between 500

grams and 1.5 kilograms of methamphetamine. However, throughout this prosecution, Petitioner

maintained his innocence regarding the conspiracy charge in Count 1. At sentencing, Petitioner

argued that he was not a co-conspirator and that he should be responsible for only the

methamphetamine found on him when he was arrested.14 During allocution, Petitioner noted that

       11
            Engelen v. United States, 68 F.3d 238, 241 (8th Cir. 1995).
       12
            Doc. No. 350.
       13
            Sanders v. United States, 341 F.3d 720, 723 (8th Cir. 2003).
       14
         Doc. No. 327 (Petitioner’s lawyer argued that to “stipulate or to agree to any other
amount [than that found on Petitioner when he was arrested] would be . . . contradictory to
[Petitioner’s] position that he maintains of being not guilty of being a co-conspirator in this
case.”).

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the Prosecution had to “rely on the testimony of others” because the Prosecution “could not

prove anything.”15 Petitioner steadfastly maintained that he was not guilty of involvement in the

conspiracy, and that he would “never accept things that I did not do.”16 The record is devoid of

any evidence that Petitioner would have acknowledged his guilt before trial.

       None of Petitioner’s other allegations amount to ineffective assistance. For example,

Petitioner contends that counsel failed to object to the drug quantities in the PSR, but counsel

made this objection at sentencing and it was overruled. Petitioner also asserts that counsel failed

to advise him about a “5-point reduction” -- a combination of acceptance of responsibility, the

safety valve, and “one point off by the judge.”17 However, the “safety valve” did not apply

because Petitioner possessed a gun in connection with the offense. Finally, Petitioner was not

entitled to a reduction for “acceptance of responsibility” because he maintained his innocence

and went to trial.

                                         CONCLUSION

       Based on the findings of fact and conclusions of law above, Petitioner’s Motion to vacate,

set aside, or correct his sentence under 28 U.S.C. § 2255 (Doc. No. 350) is DENIED, and this

case is DISMISSED with prejudice.

       IT IS SO ORDERED this 11th day of December, 2013.



                                                  /s/Billy Roy Wilson
                                           UNITED STATES DISTRICT JUDGE




       15
            Id.
       16
            Id.
       17
            Doc. No. 350.

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